Case 3:17-cv-00072-NKM-JCH Document 511-4 Filed 07/02/19 Page 1 of 2 Pageid#: 5385




           EXHIBIT 3
Case 3:17-cv-00072-NKM-JCH Document 511-4 Filed 07/02/19 Page 2 of 2 Pageid#: 5386




         Jason Kessler
                                                                    (    Follow    )     v
         @TheMadDi mension


  his pitiful, hate-filled woman will not destroy
the rights of white people on my watch. You
fucked the with the wrong one,
@kaplanrobbie!

  Early May @Early_ May
  Replying to @UberPewfan @kaplanrobbie and 3 others

  Exactily. She 's targeting white peoples rights to freedom of assembly, a basic
                                          1



  constitutional right. A counter-suit is in order. We need a crop of brill iant young
  lawyers to train to fight for our rights.


8:55 PM - 10 Feb 2018


5 Retweets 17 Likes


Q   2        t_l, 5       CJ   17
